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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
V.

ELMER STEWART RHODES ITI,
(Counts 1, 2, 3, 4, 7)

KELLY MEGGS,
(Counts 1, 2, 3, 4, 5, 8)

KENNETH HARRELSON,
(Counts 1, 2, 3, 4, 5, 9)

JESSICA WATKINS,
(Counts 1, 2, 3, 4, 5, 6)

ROBERTO MINUTA,
(Count 1, 2, 3, 4, 10)

JOSEPH HACKETT,
(Counts 1, 2, 3, 4, 5, 11)

DAVID MOERSCHEL,
(Counts 1, 2, 3, 4, 5, 12)

THOMAS CALDWELL, and
(Counts 1, 2, 3, 4, 13)

EDWARD VALLEJO,
(Count 1, 2, 3, 4)

Defendants.

CRIMINAL NO. 22-cr-15
VIOLATIONS:

COUNT 1:
18 U.S.C. § 2384
(Seditious Conspiracy)

COUNT 2:

18 U.S.C. § 1512(k)

(Conspiracy to Obstruct an Official
Proceeding)

COUNT 3:

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding and
Aiding and Abetting)

COUNT 4:

18 U.S.C. § 372

(Conspiracy to Prevent an Officer from
Discharging Any Duties)

COUNT 5:

18 U.S.C. §§ 1361, 2

(Destruction of Government Property and
Aiding and Abetting)

COUNT 6:
18 U.S.C. §§ 231(a)(3), 2
(Civil Disorder and Aiding and Abetting)

COUNTS 7-13:

18 U.S.C. §§ 1512(c)(1), 2

(Tampering with Documents or
Proceedings and Aiding and Abetting)
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INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates

and times stated below:
Introduction
The Transfer of Presidential Power in the United States

1. The United States Constitution and federal statutes codify the procedures and dates
governing the transfer of presidential power in the United States. The Twelfth Amendment
requires presidential electors to meet in their respective states and certify “distinct lists of all
persons voted for as President, and of all persons voted for as Vice-President, and of the number
of votes for each.” It further requires that the Vice President “‘shall, in the presence of the Senate
and House of Representatives, open all the certificates and the votes shall then be counted.” Title
3, Section 15 of the United States Code provides that the United States Congress must convene
during a joint session proceeding (“the Joint Session”) at 1:00 p.m. “on the sixth day of January
succeeding every meeting of the electors,” with the Vice President presiding, to count the electoral
votes, resolve any objections, certify their validity, and announce the result (“Certification of the
Electoral College vote”). The Twentieth Amendment provides that the terms of the President and
Vice President shall accordingly end at noon on the 20th day of January, “‘and the terms of their
successors shall then begin.”

Plot to Oppose by Force the 2020 Lawful Transfer of Presidential Power

o The 2020 United States Presidential Election (“Presidential Election”) occurred on
November 3, 2020. As of November 7, 2020, the incumbent President Donald J. Trump was
projected to have lost the Presidential Election.

3. After the Presidential Election, ELMER STEWART RHODES III conspired with

his co-defendants, introduced below, and other co-conspirators, known and unknown to the Grand
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Jury, to oppose by force the lawful transfer of presidential power. RHODES, a resident of
Granbury, Texas, was the founder and leader of the Oath Keepers, a large but loosely organized
collection of individuals, some of whom are associated with militias. Some members of the Oath
Keepers believe that the federal government has been coopted by a cabal of elites actively trying
to strip American citizens of their rights. Though the Oath Keepers will accept anyone as
members, they explicitly focus on recruiting current and former military, law enforcement, and
first-responder personnel. The organization’s name alludes to the oath sworn by members of the
military and police to defend the Constitution “from all enemies, foreign and domestic.” On their
website, the “Oath Keepers declare they will not obey unconstitutional orders.”

4, RHODES and certain co-conspirators, to include selected regional leaders, planned
to stop the lawful transfer of presidential power by January 20, 2021, which included multiple
ways to deploy force. They coordinated travel across the country to enter Washington, D.C.,
equipped themselves with a variety of weapons, donned combat and tactical gear, and were
prepared to answer RHODES’S call to take up arms at RHODES’S direction. Some co-
conspirators also amassed firearms on the outskirts of Washington, D.C., distributed them among
“quick reaction force” (“QRF”) teams, and planned to use the firearms in support of their plot to
stop the lawful transfer of presidential power.

Oath Keepers Attack the United States Capitol on January 6, 2021

5. Beginning in late December 2020, via encrypted and private communications
applications, RHODES and various co-conspirators coordinated and planned to travel to
Washington, D.C., on or around January 6, 2021, the date of the Certification of the Electoral

College vote. RHODES and several co-conspirators made plans to bring weapons to the area to
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support the operation. The co-conspirators then traveled across the country to the Washington,
D.C., metropolitan area in early January 2021.

6. On January 6, 2021, the Joint Session convened at the Capitol building for the
Certification of the Electoral College vote.

7. A large crowd began to gather outside the Capitol perimeter as the Joint Session
got underway at 1:00 p.m. Crowd members eventually forced their way through, up, and over
United States Capitol Police barricades and advanced to the building’s exterior facade. Shortly
after 2:00 p.m., crowd members forced entry into the Capitol by breaking windows, ramming open
doors, and assaulting Capitol Police and other law enforcement officers.

8. Around that time, RHODES entered the restricted area of the Capitol grounds and
directed his followers to meet him at the Capitol.

o Around 2:30 p.m., KELLY MEGGS, KENNETH HARRELSON, JESSICA
WATKINS, JOSEPH HACKETT, DAVID MOERSCHEL, and other Oath Keepers members and
affiliates—many of whom were wearing paramilitary clothing and patches with the Oath Keepers
name, logo, and insignia—marched in a “stack” formation (“Stack One”) up the east steps of the
Capitol to the area outside of the Capitol Rotunda Doors. At the time, the doors were closed and
guarded by Capitol Police officers. Stack One joined a mob of people, some of whom attacked
officers and tried to enter the Capitol while yelling, among other things, “Take their shields” and
“Our house!” Attackers assaulted officers using pepper spray, flagpoles, and numerous
improvised weapons and projectiles. They also disarmed the officers by stealing their shields and
pushing them away from the Rotunda Doors. At 2:38 p.m., the doors were breached, and Stack
One stormed into the Capitol alongside the mob. During the attack on the Capitol, the Rotunda

Doors and surrounding fagade suffered damage worth thousands of dollars.
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10. Once inside the Capitol, Stack One entered the Rotunda and then split up. Half of
Stack One tried to push their way through a line of law enforcement officers guarding a hallway
that led to the Senate Chamber. Law enforcement officers forcibly repelled their advance. The
participants in this half of Stack One regrouped in the Rotunda and then left the building. The
other half of Stack One headed toward the House of Representatives, in search of Speaker of the
House Nancy Pelosi. They did not find Speaker Pelosi and ultimately left the building.

11. ‘Later, another group of Oath Keepers and associates, including Joshua James,
ROBERTO MINUTA, and Brian Ulrich, formed a second “stack” (“Stack Two’) and breached
the Capitol grounds, marching from the west side to the east side of the Capitol building and up
the east stairs. At around 3:15 p.m., James and MINUTA breached the same Rotunda Doors that
Stack One previously entered, and Ulrich followed shortly thereafter. Once inside, James and
MINUTA forced their way past law enforcement officers trying to guard the Rotunda. James and
MINUTA started shouting at officers to “get out” of “my Capitol.” James violently pulled at and
pushed his way past officers, forcing officers to deploy chemical spray in an effort to stop James,
MINUTA, and others from progressing into the Rotunda.

12. While certain Oath Keepers members and affiliates inside of Washington, D.C.,
breached the Capitol grounds and building, others remained stationed just outside of the city in
QRF teams. The QRF teams were prepared to rapidly transport firearms and other weapons into
Washington, D.C., in support of operations aimed at using force to stop the lawful transfer of
presidential power. The QRF teams were coordinated, in part, by THOMAS CALDWELL and

EDWARD VALLEJO.
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RHODES’S Co-Conspirators
13. The Oath Keepers members and affiliates who conspired with RHODES included
the defendants listed below and others:
Stack One

a. KELLY MEGGS was a resident of Dunnellon, Florida, who was the head of the
Florida chapter of the Oath Keepers and used the monikers “Gator 1” and “OK
Gator 1,” and led Stack One into the Capitol on January 6, 2021;

b. KENNETH HARRELSON was a resident of Titusville, Florida, who assisted
MEGGS in organizing the Florida Oath Keepers, used the moniker “Gator 6,” and
served as the “Ground Team lead” for Stack One;

c. JESSICA WATKINS was a resident of Woodstock, Ohio, who led the Ohio team
of Oath Keepers at the Capitol on January 6, 2021, and who used the monikers
“Captain” and “Cap”;

d. JOSEPH HACKETT was a resident of Sarasota, Florida, who used the monikers
“Ahab” and “Faith”; and

e. DAVID MOERSCHEL was a resident of Punta Gorda, Florida, who used the
moniker “Hatsy.”

Stack Two

f. Joshua James was a resident of Arab, Alabama, who used the moniker “Hydro,”
and served as the leader of Stack Two on January 6, 2021;

g. ROBERTO MINUTA was a resident of Hackettstown, New Jersey, who
coordinated directly with RHODES and assisted James in leading Stack Two on

January 6, 2021; and
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h. Brian Ulrich was a resident of Guyton, Georgia, who used the monikers “Molon
Labe” and “Bilbo.”
Quick Reaction Force Leaders and Coordinators
i. THOMAS CALDWELL was a resident of Berryville, Virginia, who used the
monikers “CAG,” “Spy,” and “CAG Spy”; and

j. EDWARD VALLEJO was a resident of Phoenix, Arizona.
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COUNT ONE
(18 U.S.C. § 2384)
(Seditious Conspiracy)
14. Paragraphs 1 through 13 of this Indictment are re-alleged and incorporated as
though set forth herein.
The Conspiracy
15. From in and around November 2020, through in and around January 2021, in the
District of Columbia and elsewhere, the defendants,
ELMER STEWART RHODES III,
KELLY MEGGS,
KENNETH HARRELSON,
JESSICA WATKINS,
ROBERTO MINUTA,
JOSEPH HACKETT,
DAVID MOERSCHEL,
THOMAS CALDWELL, and
EDWARD VALLEJO,
did knowingly conspire, confederate, and agree, with other persons known and unknown to the
Grand Jury, to oppose by force the authority of the Government of the United States, and by force
to prevent, hinder, and delay the execution of any law of the United States.
Purpose of the Conspiracy
16. The purpose of the conspiracy was to oppose the lawful transfer of presidential
power by force, by opposing by force the authority of the Government of the United States and by
preventing, hindering, or delaying by force the execution of the laws governing the transfer of

power, including the Twelfth and Twentieth Amendments to the Constitution and Title 3, Section

15 of the United States Code.
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17.

Manner and Means

The conspirators carried out the conspiracy through the following manner and

means, among others:

a.

Preparing for and coordinating travel to Washington, D.C., to use force to stop the
lawful transfer of presidential power;

Organizing into teams that were prepared and willing to use force and to transport
firearms and ammunition into Washington, D.C.;

Recruiting members and affiliates to participate in the conspiracy;

Organizing trainings to teach and learn paramilitary combat tactics;

Bringing and contributing firearms, ammunition, and related equipment to the QRF
staging areas outside Washington, D.C.;

Bringing and contributing paramilitary gear, weapons, and supplies—including
knives, batons, camouflaged combat uniforms, tactical vests with plates, helmets,
eye protection, and radio equipment—to the Capitol grounds;

Breaching and attempting to take control of the Capitol grounds and building on
January 6, 2021, in an effort to prevent, hinder, and delay the Certification of the
Electoral College vote;

Using force against law enforcement officers while inside the Capitol on January
6, 2021;

Continuing to plot, after January 6, 2021, to oppose by force the lawful transfer of
presidential power; and

Using websites, social media, text messaging, and encrypted messaging

applications to communicate with co-conspirators and others.
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Acts in Furtherance of the Conspiracy
November 2020
18. Beginning in November 2020, RHODES began disseminating messages on
encrypted applications that encouraged his co-conspirators to oppose by force the lawful transfer
of presidential power. For example:

a. On November 5, 2020—two days after the Presidential Election—RHODES sent a
message to an invitation-only, end-to-end encrypted group chat on the application
Signal, titled, “Leadership intel sharing secured” (“Leadership Intel Chat”), which,
at that point, included MEGGS and others. In his message, RHODES urged his
followers to refuse to accept the election result and stated: “We aren’t getting
through this without a civil war. Too late for that. Prepare your mind, body, spirit.”
b. On November 7, 2020—the date that President Trump was projected to have lost
the Presidential Election—RHODES wrote to the Leadership Intel Chat: “[W]e
must now do what the people of Serbia did when Milosevic stole their election. -
Refuse to accept it and march en-mass on the nation’s Capitol.” He then sent a link
to a Bitchute.com video titled “STEP BY STEP PROCEDURE, HOW WE WON

WHEN MILOSEVIC STOLE OUR ELECTIONS.” RHODES continued:

I am in direct context with the Serbian author of that video. His
videos are excellent. Here is his written advice to us:

“- Peaceful protests, good, well played round 1

- A complete civil disobedience, they are not your representatives.
They are FOREIGN puppet government.

- Connect with the local police and start organize by neighborhoods
to stay safe (we didn’t need this step)

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- We swarmed the streets and started confronting the opponents. I
know, not nice, but it must be done if the institutions stop to exist

- Millions gathered in our capital. There were no barricades strong
enough to stop them, nor the police determined enough to stop them

- Police and Military aligned with the people after few hours of fist-
fight

- We stormed the Parliament

- And burned down fake state Television!

WE WON!”
Later, on November 10, 2020, RHODES publicly published this plan of action
under the headline “WHAT WE THE PEOPLE MUST DO” on the Oath Keepers
website in a “Call to Action!”

19. On November 9, 2020, RHODES held a private GoToMeeting—an online meeting
site that allows users to host conference calls and video conferences via the Internet—limited to
Oath Keepers members, titled, “Oath Keepers National Call — Members Only,” which was
attended by MEGGS, HARRELSON, WATKINS, HACKETT, and others, including a person
whom RHODES appointed as the operation leader for January 6, 2021. During the meeting,
RHODES outlined a plan to stop the lawful transfer of presidential power, including preparations
for the use of force, and urged those listening to participate.

20. Immediately after that meeting, MEGGS sent a message to an invitation-only
Signal group chat titled, “OKFL Hangout” (“‘OKFL Hangout Chat”)—including HARRELSON,
HACKETT, MOERSCHEL, and others—stating, “Anybody not on the call tonight. We have been
issued a call to action for DC. This is the moment we signed up for... .”). WATKINS also sent

messages to several people whom she referred to in her phone as “recruits,” informing them about

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a “military style basic” training class her militia was organizing for the beginning of January 2021
to get these recruits “fighting fit by innaugeration.”

21. On November 9, 2020, CALDWELL reached out to RHODES to provide the
results of a lengthy “recce” [reconnaissance] trip he had taken into Washington, D.C., and to
coordinate planning with RHODES for an upcoming “op” in Washington, D.C.

22. On November 22, 2020, the Florida chapter of the Oath Keepers—including
MEGGS, HARRELSON, HACKETT, and others—held a training on “unconventional warfare.”
December 2020

23. On December 11, 2020, RHODES sent a message to an invitation-only Signal
group chat titled, “Dec 12 DC Security/Leadership,” which included James, MINUTA, and others.
RHODES stated that if President-Elect Biden were to assume the presidency, “It will be a bloody
and desperate fight. We are going to have a fight. That can’t be avoided.”

24. On December 12, 2020, the North Carolina chapter of the Oath Keepers held a
training session that, according to the leader of the chapter, would be focused on:

vehicle operations,, road blocks,, vehicle recovery, convoy operations,, . . . setting

up hasty ambushes,, and reacting to ambushes, but the first thing we are going to

do is fall into a formation when we assemble....

WATKINS planned to, but did not, attend that training.

25. | On December 14, 2020—the same day that presidential electors from each state

and the District of Columbia cast their votes in the Presidential Election—RHODES published a

letter on the Oath Keepers website advocating for the use of force to stop the lawful transfer of

presidential power.

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26. | The same day, RHODES sent a similar message to an invitation-only Signal group
chat titled, “Oath Keepers of Georgia.” Ulrich responded, “Well I’m not a soldier but I’m focused
and J stayed at a holiday inn once! so it’s game on time!!”

27. On December 19, 2020, HACKETT sent an email to another member of Stack One
with the subject line, “test.” In the email, HACKETT wrote, “I believe we only need to do this
when important info is at hand like locations, identities, Ops planning.” Attached to the email was
a photograph that showed cursive handwriting on a lined notepad that stated, “Secure Comms Test.
Good talk tonight guys! Rally Point in Northern Port Charlotte at Grays if transportation is
possible. All proton mails. May consider an RP that won’t burn anyone. Comms — work in
progress. Messages in cursive to eliminate digital reads. Plans for recruitment and meetings.”

28. Also on December 19, 2020, MINUTA messaged another individual, “Oath
Keepers president is pretty disheartened. He feels like it’s go time, the time for peaceful protest is
over in his eyes. I was talking with him last night.”

29, On December 21, 2020, James posted a message to the Leadership Intel Chat,
which at that point included MEGGS, James, WATKINS, and others, stating, “SE Region is
creating a NATIONAL CALL TO ACTION FOR DC JAN 6TH.... 4 states are mobilizing[.]”
When he did not receive an immediate response, James posted, “DID NO ONE HEAR ME!!!! 3
STATES ARE MOBILIZING TO DC!!! Everyone in this channel should understand the
magnitude i just sent!!”

30. On December 22, 2020, in an interview with a regional Oath Keepers leader,
RHODES stated that if President-Elect Biden were able to assume the presidency, “We will have

to do a bloody, massively bloody revolution against them. That’s what’s going to have to happen.”

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He urged President Trump to use military force to stop the lawful transfer of presidential power,
describing January 6, 2021, as “‘a hard constitutional deadline” to do so.

31. On December 23, 2020, RHODES published another open letter on the Oath
Keepers website. RHODES explained, “tens of thousands of patriot Americans, both veterans and
non-veterans, will already be in Washington D.C., and many of us will have our mission-critical
gear stowed nearby just outside D.C.” RHODES stated in the open letter that he and others may
have to “take to arms in defense of our God given liberty.”

32. On December 23, 2020, James sent RHODES’S letter to a co-conspirator and told
him the letter was required reading.

33. | RHODES continued advocating for the use of force to stop the lawful transfer of
presidential power with MEGGS, HARRELSON, HACKETT, MOERSCHEL, and others in the
OKFL Hangout Chat.

34, On December 25, 2020, MEGGS messaged the OKFL Hangout Chat, in reference
to the Joint Session, “We need to make those senators very uncomfortable with all of us being a
few hundred feet away.” RHODES then wrote, “I think Congress will screw him [President
Trump] over. The only chance we/he has is if we scare the shit out of them and convince them it
will be torches and pitchforks time is they don’t do the right thing. But I don’t think they will
listen.”

35. On December 26, 2020, a member of Stack One attempted to arrange a training
class and wrote an email to a Florida company that conducts training on firearms and combat. The
Stack One member wrote, in part, “I trained with you not long ago. Since then I have joined Oath
Keepers. I recommended your training to the team. To that effect, four of us would like to train

with you, specifically in your UTM rifle class.”

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36. On December 29, 2020, WATKINS texted a co-conspirator, “We plan on going to
DC on the 6".]”

37. On December 30, 2020, RHODES purchased two night-vision devices and one
weapon sight for approximately $7,000 and shipped the items to another individual in Virginia,
near Washington, D.C., where they arrived on January 4, 2021.

38. Starting on December 30, 2020, RHODES administered an invitation-only Signal
group chat titled, “DC OP: Jan 6 21” (“Leadership Signal Chat”). MEGGS, HARRELSON,
WATKINS, James, MINUTA, HACKETT, Ulrich, VALLEJO, and others were invited to and
joined the Leadership Signal Chat.

39. Later, MEGGS, HARRELSON, WATKINS, HACKETT, MOERSCHEL, and
others joined an invitation-only Signal group chat titled, “OK FL DC OP Jan 6” (“Florida Signal
Chat”). MEGGS and HARRELSON were the administrators of the Florida Signal Chat.

40. | RHODES and his co-conspirators used the Leadership Intel Chat and other Signal
group chats to plan for January 6, 2021. On December 31, 2020, at approximately 10:08 p.m.,
RHODES wrote to the Leadership Intel Chat, “There is no standard political or legal way out of
this.”

41. OnDecember 31, 2020, Ulrich sent messages to the Leadership Signal Chat relating
to firearms: “Someone can tell me if I’m crazy but I’m planning on having a backpack for regular
use and then a separate backpack with my ammo load out with some basics that I can just switch
too is shit truly the fan blades....” Ulrich added, “I will be the guy running around with the budget

AR.”

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42. On December 31, 2020, MEGGS sent Facebook messages to another person who
intended to travel to Washington, D.C., on January 6, 2021: “You guys Gonna carry?” and “Ok
we aren’t either, we have a heavy QRF 10 Min out though.”

43. | On December 31, 2020, James received a Signal message from another person,
which stated, “i have friends not far from DC with a lot of weapons and ammo if you get un trouble
ica. Coordinate help.” James responded, “That might be helpful, but we have a shitload of QRF
on standby with an arsenal.”

44, On December 31, 2020, an Arizona QRF team member messaged RHODES on
Signal that the team member, VALLEJO, and others were coming to Washington, D.C., and that
“everyone coming has their own technical equipment and knows how to use it,” adding a “winky
face” emoji. RHODES responded, “awesome!” The Arizona QRF team member also said that
the group would have “rifles” and “man power.”

45. In late December, CALDWELL identified the Comfort Inn Ballston, in Arlington,
Virginia, as the location that the QRF would use as its base of operations for January 6, 2021.
CALDWELL shared the location of the hotel with WATKINS and the QRF team leader for the
North Carolina Oath Keepers group that traveled to Washington, D.C., for January 6, 2021. The
North Carolina QRF team leader reserved three rooms and paid for one of the rooms; MEGGS
paid for the other two rooms. One room was occupied by the North Carolina QRF team; the second
room was occupied by the Arizona QRF team, including VALLEJO; the third room was occupied
by the Florida QRF team. These QRF teams used the rooms to store and guard the firearms that

they and other co-conspirators contributed to the QRF.

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January 2021

46. On January 1, 2021, Ulrich messaged James on Signal, “Hey we told to bring guns
and maybe stage them in VA?? But you are showing hotels in DC for Alabama. Are we bring
guns or no if so how will that work?” James responded, “Were working on a Farm location Some
are bringing long rifles some sidearms... I’m bringing sidearm.”

47. On January 1 and 2, 2021, RHODES spent approximately $5,000 on firearms and
related equipment, including a shotgun, scope, magazines, sights, optics, a bipod, a mount, a case
of ammunition, and gun-cleaning supplies.

48. On January 2, 2021, WATKINS messaged the Leadership Signal Chat about
assigning roles to individuals on her team, including operating HAM radios.

49. On the morning of January 2, 2021, MEGGS messaged the Leadership Signal Chat,
“Good call last night. Lots covered, I’ll get with NC team today and find out QRF location[.]”

50. On January 2, 2021, RHODES messaged MEGGS on Signal, “If you want to stow
weapons with [the operation leader] you can. He’ll have a secure car trunk or his hotel room (or
mine).” MEGGS responded, “Last night call ... we discussed a QRF RP so we may do that. As
well as the NC team has a hotel room close by.” RHODES messaged, “Ok. We WILL have a
QRF. this situation calls for it.”

51. On January 2, 2021, CALDWELL received a message from the North Carolina
QRF team leader, stating “FLA. 2 men back[.] 12 to 15 going in DC.”

52. On the evening of January 2, 2021, MEGGS posted a map of Washington, D.C., in
the Leadership Signal Chat, along with the message, “1 if by land[,] North side of Lincoln

Memorial[,] 2 if by Sea[,] Corner of west basin and Ohio is a water transport landing !!” MEGGS

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continued, “QRF rally points[.] Water of the bridges get closed.” In response, the North Carolina
QRF team leader wrote, “My sources DC working on procuring Boat transportation as we speak.”

53. On January 2, 2021, CALDWELL sent messages to his contacts about seeking
boats in support of the QRF. In one message, CALDWELL said:

Can’t believe I just thought of this: how many people either in the militia or not

(who are still supportive of our efforts to save the Republic) have a boat on a trailer

that coud handle a Potomac crossing? If we had someone standing by at a dock

ramp (one near the Pentagon for sure) we could have our Quick Response Team

with the heavy weapons standing by, quickly load them and ferry them across the

river to our waiting arms... . if it all went to shit, our guy loads our weps AND Blue

Ridge Militia weps and ferries them across.

54. On January 3, 2021, MEGGS added HARRELSON to the Leadership Signal Chat
and wrote that HARRELSON would serve as the “Ground Team lead.”

55. On January 3, 2021, WATKINS and a co-conspirator discussed uniforms and

weapons:

WATKINS: We are not bringing firearms. QRF will be our Law
Enforcement members of Oathkeepers.

Co-Conspirator: Good to know.

WATKINS: Pack Khaki/Tan pants. Weapons are ok now as well.
Sorry for the confusion. We are packing the car and
heading your way shortly

Co-Conspirator: We don’t have any khakis We have jeans and our

bdu’s SoI can bring my gun?
56. On January 3, 2021, MEGGS messaged the Leadership Signal Chat, “Ammo
situation: Are we bringing or are we set at QRF? I mean I’m always gonna have a couple hundred.
But if SHTF we got ample availability.” The same day, MEGGS messaged the Florida Signal

Chat, “Ammo situation. I am checking on as far as what they will have for us if SHTF. I’m gonna

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have a few thousand just in case. If you’ve got it doesn’t hurt to have it. No one ever said[,] shit
I brought too much.”

57. On January 3, 2021, RHODES departed Granbury, Texas, and began traveling to
the Washington, D.C., metropolitan area. While traveling, RHODES spent approximately $6,000
in Texas on an AR-platform rifle and firearms equipment, including sights, mounts, triggers,
slings, and additional firearms attachments.

58. On January 4, 2021, WATKINS asked the Florida Signal Chat, “Where can we
drop off weapons to the QRF team? I’d like to have the weapons secured prior to the Op
tomorrow.”

59. On January 4, 2021, VALLEJO messaged MEGGS, “Sir, Ed Vallejo of Arizona in
Tenn. With cadre requesting coordinates to Allied encampment outside DC boundaries to
rendezvous. Please respond ASAP. For the Republic.”

60. On January 4, 2021, CALDWELL sent an email to the North Carolina QRF team
leader with the subject line, “NEW MAPS RELATIVE TO HOTEL AND INGRESS FOR QRF,”
and attached several maps as image files.

61. On January 4, 2021, while still traveling toward the Washington, D.C.,
metropolitan area, RHODES spent approximately $4,500 in Mississippi on firearms equipment,
including sights, mounts, an optic plate, a magazine, and various firearms parts.

62. Between January | and 5, 2021, RHODES, MEGGS, HARRELSON, WATKINS,
James, HACKETT, MOERSCHEL, Ulrich, VALLEJO, and other co-conspirators transported
firearms, ammunition, and related items to the Washington, D.C., metropolitan area.

63. On January 5, 2021, HARRELSON messaged the Florida Signal Chat and asked

for the location of the “QRF hotel,” and MEGGS responded by asking for a direct message.

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64. On January 5, 2021, VALLEJO text messaged MEGGS, “Sir, this is Ed Vallejo.
We must have copied your number incorrectly as we never received response to our text requesting
campground address. We made it as far as Wytheville VA & had to get a room. Please text
location so we will know where to begin in the morning. Thank you kindly.” MEGGS responded
with a text message providing the address of the Comfort Inn Ballston.

65. On January 5, 2021, as MEGGS and co-conspirators were unloading their weapons,
he messaged RHODES, “Yes we are just outside of town unloading at QRF on our way in. Left
[the North Carolina Oath Keepers leader’s] place at 4:30am[.]”

66. On January 5, 2021, CALDWELL, using Google Maps on his mobile device,
mapped a route between the Capitol building and an address one block from the Comfort Inn
Ballston.

67. On January 5, 2021, CALDWELL and others drove into Washington, D.C., around
the Capitol, and back to their hotel in Virginia. CALDWELL described the trip as “recce,” or a
reconnaissance mission.

68. On January 5, 2021, James dropped off firearms and ammunition that he, Ulrich,
and other co-conspirators had transported to the Hilton Garden Inn in Vienna, Virginia, where
RHODES, James, MINUTA, and others were staying.

69. On January 5, 2021, MEGGS, HARRELSON, HACKETT, MOERSCHEL,
CALDWELL, and others provided the QRF, including VALLEJO, with firearms, ammunition,

and related items.

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January 6, 2021
A. The Co-Conspirators Communicate and Prepare to Head to the Capitol
70. On the morning of January 6, 2021, at approximately 6:27 a.m., RHODES
messaged the Leadership Signal Chat, “We will have several well equipped QRFs outside DC.
And there are many, many others, from other groups, who will be watching and waiting on the
outside in case of worst case scenarios.” At approximately 8:30 a.m., RHODES, the operation
leader, and others departed a hotel in Virginia for Washington, D.C., and drove to the Capitol area.
71. VALLEJO and others were on standby at the Comfort Inn Ballston, monitoring
communications from the co-conspirators on the ground inside Washington, D.C., and awaiting a
call to bring the weapons to the co-conspirators. On a podcast that morning, VALLEJO and an
Arizona QRF team member discussed the possibility of “armed conflict” and “guerilla war” and

explained that “there are people who are prepared, have the will, have the facilities to do more than

taunt.”
72. CALDWELL and others also marched to the Capitol, ultimately to the west side.
73. | HARRELSON and another member of Stack One went to the Capitol in advance
of the rest of Stack One.

74. Other members of Stack One—including MEGGS, WATKINS, HACKETT,
MOERSCHEL, and others—equipped themselves with communication devices and reinforced
vests, helmets, goggles, and other tactical gear. Then they marched to the Capitol, ultimately to
the east side.

75. Stack Two—consisting of James, MINUTA, Ulrich, and others—equipped
themselves with battle apparel and gear, including hard-knuckle tactical gloves, tactical vests,

ballistic goggles, radios, chemical sprays, a paracord attachment, fatigues, goggles, scissors, a

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large stick, and one of the Stack Two member’s 82-pound German Shepherd named “Warrior.”
Stack Two sped to the area near the Capitol on golf carts and then marched onto the Capitol
grounds, ultimately to the east side.

76. The co-conspirators and others communicated on the Leadership Signal Chat and
via other means.

B. RHODES, Stack One, and Others Breach the Capitol Grounds and Building

77. Just before 1:30 p.m., on the Leadership Intel Chat, in response to a claim by an
Oath Keepers affiliate that Antifa had breached the Capitol, RHODES replied, “Nope. I’m right
here. These are Patriots.” RHODES then messaged the Leadership Signal Chat, “Pence is doing
nothing. As I predicted.” RHODES added, “All I see Trump doing is complaining. I see no intent
by him to do anything. So the patriots are taking it into their own hands. They’ve had enough.”

78. At approximately 1:30 p.m., Oath Keepers affiliates on the Leadership Intel Chat
posted messages about police officers deploying pepper spray at the Capitol and questioned what
the rioters hoped would happen if they got inside the Capitol. A person with RHODES at the time
responded, “We are acting like the founding fathers - can’t stand down. Per Stewart and I
concur[.]’”» RHODES followed:

Hey, the founding generation stormed the governors mansion in MA and tarred and

feathered his tax collectors. And they seized and dumped tea in water.

They didn’t fire on them, but they street fought. That’s where we are now.

Next comes our “Lexington”.

It’s coming.

79. Shortly before 2:00 p.m., on an invitation-only Signal group chat titled, “Jan 5/6
DC Op Intel team”—which included RHODES, James, and others—a participant posted a link to

a video titled “live stream of patriots storming capital.” Another participant asked, “Are they

actually Patriots - not those who were going to go in disguise as Patriots and cause trouble[?]”

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RHODES responded, “Actual Patriots. Pissed off patriots[.] Like the Sons of Liberty were pissed
off patriots[.]” James followed with, “Were coming to Capitol ETA 30 MIN[.]”

80. Around this same time, while MEGGS, WATKINS, HACKETT, MOERSCHEL,
and others were marching toward the Capitol, WATKINS made an announcement on the “Stop
the Steal J6” channel on Zello, an application that emulates push-to-talk walkie-talkies over
cellular telephone networks: “It has spread like wildfire that Pence has betrayed us, and
everybody’s marching on the Capitol ... We have about 30-40 of us. We are sticking together
and sticking to the plan.”

81. At 2:00 p.m., WATKINS stated on the “Stop the Steal J6” Zello channel, “Yall,
we’re one block away from the Capitol right now. I’m probably gonna go silent when we get
there, because I’m gonna be a little busy.”

82. Shortly after 2:00 p.m., HARRELSON and a co-conspirator joined the mob that
first breached the barricades on the east side of the Capitol and rushed toward the steps that lead
up to the east side Rotunda Doors. The co-conspirator with HARRELSON maneuvered his way
to the front of the crowd and pulled on the arm of one of the Capitol Police officers who had
reassembled a police line on the steps to try to keep the crowd at bay. The officer pushed the co-
conspirator away. HARRELSON and the co-conspirator remained on the steps as the crowd
pushed the police line further back up the steps toward the east side Rotunda Doors.

83. At around 2:12 p.m., RHODES entered the restricted Capitol grounds on the
northeast side of the Capitol.

84. At 2:14 p.m., the operation leader for January 6, 2021, wrote to the Leadership
Signal Chat, “The have taken ground at the capital[.] We need to regroup any members who are

not on mission.”

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85. At 2:21 pm., MEGGS, WATKINS, HACKETT, MOERSCHEL, and others
unlawfully entered the restricted Capitol grounds. Shortly thereafter, the group paused and
gathered in a circle.

86. At 2:24 p.m., while staged at the Comfort Inn Ballston, VALLEJO messaged the
Leadership Signal Chat, “Vallejo back at hotel and outfitted. Have 2 trucks available. Let me
know how I can assist.”

87. At2:24 p.m., RHODES called MEGGS, but the call went to voicemail.

88. At 2:24 p.m., RHODES sent MEGGS a message stating, “Go to SOUTH side of
US Capitol,” followed by another message stating, “That’s where I am going. To link up with [the
operation leader].”

89. At2:25 p.m., RHODES forwarded the operation leader’s message (“The have taken
ground at the capital[.] We need to regroup any members who are not on mission.”) to the
Leadership Signal Chat and instructed his co-conspirators: “Come to South Side of Capitol on
steps” and then sent a photograph showing his location on the east side of the Capitol.

90. Shortly thereafter, MEGGS, WATKINS, HACKETT, MOERSCHEL, and others
continued walking northbound along the exterior of the Capitol and then entered the plaza in front
of the east side of the Capitol.

91.  At2:32 pm., MEGGS, WATKINS, HACKETT, MOERSCHEL, and others stood
in a group on the east plaza in front of the Capitol.

92. At 2:32 p.m., MEGGS placed a phone call to RHODES, who was already on the
phone with the operation leader. RHODES conferenced MEGGS into the call.

93. At 2:35 p.m., MEGGS, WATKINS, HACKETT, MOERSCHEL, and others joined

together to form Stack One and maneuvered in an organized fashion up the steps to the east side

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Rotunda Doors—each member keeping at least one hand on the shoulder of the other in front of
them.

94. | HARRELSON joined Stack One when it reached the top of the steps.

95.  Atthe top of the steps, Stack One pushed forward as part of a mob that aggressively
advanced toward the Rotunda Doors, assaulted the law enforcement officers guarding the doors,
threw objects and sprayed chemicals toward the officers and the doors, and pulled violently on the
doors.

96.  At2:38p.m., VALLEJO messaged the Leadership Signal Chat, “QRF standing by
at hotel. Just say the word...”

97. At 2:39 p.m., a member of Stack One joined the crowd in forcibly pushing against
one of the Rotunda Doors and the law enforcement officers guarding that door. The mob then
breached the doors and the Stack One member entered the building.

98. Shortly after the mob breached the Rotunda Doors, MEGGS, HARRELSON,
WATKINS, HACKETT, MOERSCHEL, and others forced their way through the doors into the
Capitol.

99. As they entered the Capitol, MEGGS, HARRELSON, WATKINS, HACKETT,
MOERSCHEL, and others joined the larger mob in pushing past at least one law enforcement
officer who was trying to stop the attack on the Capitol.

100. After penetrating the Capitol, MEGGS, HARRELSON, WATKINS, HACKETT,
MOERSCHEL, and others moved into the Rotunda.

101. As they navigated through the Rotunda, MEGGS, HARRELSON, WATKINS,
HACKETT, MOERSCHEL, and others remained in stack formation by keeping their hands on

each other’s backs.

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102. At2:44 p.m., WATKINS stated on the “Stop the Steal J6” Zello channel, “We are
in the mezzanine. We are in the main dome right now. We are rocking it. They are throwing
grenades, they are fricking shooting people with paint balls. But we are in here.” In response,
another member of the channel said, “Get it, Jess. Do your fucking thing. This is what we fucking
[unintelligible] up for. Everything we fucking trained for.”

103. Shortly thereafter, WATKINS and other members of Stack One exited the Rotunda
through the northbound hallway toward the Senate Chamber.

104. Around this time, a member of Stack One yelled “the fight’s not over” and waved
rioters down the hallways toward the Senate Chamber.

105. At 2:45 p.m. and afterward, WATKINS and other Stack One members joined the
mob in pushing against a line of law enforcement officers guarding the hallway connecting the
Rotunda to the Senate Chamber, as WATKINS commanded those around her to “push, push,
push,” and to, “get in there, get in there,” while exclaiming, “they can’t hold us.” When officers
responded by deploying a chemical spray, the mob—including WATKINS and other Stack One
members—retreated.

106. At 2:45 p.m., MEGGS, HARRELSON, HACKETT, MOERSCHEL, and other
Stack One members walked southbound out of the Rotunda and toward the House of
Representatives in search of Speaker Pelosi. They did not find Speaker Pelosi.

107. Meanwhile, CALDWELL, who was positioned on the west side of the Capitol,
joined with others in storming past barricades and climbing stairs up to a balcony in the restricted

area on the west side of the Capitol building.

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108. At 3:09 p.m., another individual messaged the Leadership Signal Chat that the
“news is reporting Congress given gas masks and are trying to get out.” RHODES responded,
“fuck em,” before posting a photograph of people storming the Capitol.

C. Stack Two and Others Breach the Capitol Building

109. Between 2:00 p.m. and 2:30 p.m., James, MINUTA, Ulrich, and others discussed
the fact that individuals had breached the Capitol. MINUTA stated words to the effect of, “Now
we’re talking, that’s what I came up here for!” James then instructed the group to get their gear
and get ready to head to the Capitol. The group departed their hotel and headed toward the Capitol.

110. Between 2:30 p.m. and 2:33 p.m., James, MINUTA, Ulrich, and others rode in golf
carts toward the Capitol, at times swerving around law enforcement vehicles, with MINUTA live-
streaming their conduct over Facebook and stating:

Patriots are storming the Capitol building; there’s violence against patriots by the

D.C. Police; so we’re en route in a grand theft auto golf cart to the Capitol building

right now .. . it’s going down, guys; it’s literally going down right now Patriots

storming the Capitol building . . . fucking war in the streets right now . . . word is

they got in the building . . . let’s go.

111. At 2:33 p.m., James, MINUTA, Ulrich, and others parked the golf carts near the
Capitol.

112. At2:33 p.m., James placed a phone call to the operation leader for January 6, 2021.

113. James, MINUTA, Ulrich, and others then marched toward the Capitol and entered
the restricted areas of the Capitol grounds.

114. When they arrived on the Capitol grounds, James, MINUTA, Ulrich, and others
joined together to form Stack Two and maneuvered their way through the crowd by keeping their

hands on each other’s shoulders or gear, eventually moving around the Capitol building and toward

the east side.

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115. MINUTA—with James, Ulrich, and the other members of Stack Two standing
nearby—aggressively berated and taunted law enforcement officers who were guarding the
perimeter of the Capitol building and threatened the officers that they were outnumbered.

116. Shortly after 3:00 p.m., James told Stack Two members something to the effect of
“they’re going in over there, let’s go! Let’s get up there!” James then led MINUTA, Ulrich, and
the other members of Stack Two up the central steps on the east side of the Capitol.

117. At 3:15 p.m., James, MINUTA, and one other member of Stack Two forcibly
entered the Capitol building through the same east side Rotunda Doors that Stack One entered
about 35 minutes earlier. Before entering, James stated, “We’re going in,” and MINUTA
responded, “Hell yeah!” When he entered the Capitol, MINUTA was still armed with the chemical
spray and other tactical gear.

118. While entering the Capitol building, James and MINUTA pushed past Capitol
Police officers who placed their hands on James and MINUTA in unsuccessful attempts to stop
them from advancing toward the Rotunda.

119. At 3:17 p.m., upon reaching the Rotunda, James and MINUTA joined alongside
others in a mob confronting and jostling with a line of law enforcement officers, which formed a
barrier between the lobby and the Rotunda. MINUTA, standing behind James and recording the
events with a camera, began yelling, “This is what’s bound to happen, just get out! Get out! Get
these cops out! It’s our fucking building! Get ‘em out, get out!” James grabbed the vest of J.M.,
a Metropolitan Police Department Officer engaged in the performance of his official duties, and
James pulled J.M. toward the mob. Other officers behind J.M. grabbed J.M.’s vest and pulled him
back into the line of officers. While pulling J.M., James yelled, “Get out of my Capitol! Get out!

Get out of my Capitol!” James fell backward and then jumped and pushed forward to the officers

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repeatedly, continuing to yell “This is my fucking building! This is not yours! This is my Capitol!”
Other members of the mob, including MINUTA, began pushing James forward into the Rotunda
while James yelled, “Keep going!”

120. James and MINUTA briefly breached the Rotunda. James was expelled by at least
one officer who aimed chemical spray directly at James, and multiple officers who pushed him out
from behind.

121. At3:19 p.m., while exiting the Capitol through the same east side Rotunda Doors
that he had previously entered, MINUTA yelled at a law enforcement officer.

122. At3:21 p.m., Ulrich and other members of Stack Two entered the east side Rotunda
Doors.

D. Co-Conspirators Meet Immediately After Breaching the Capitol

123. At3:30p.m., RHODES messaged the Leadership Signal Chat, “Anyone in DC who
is not tasked with a security detail, come yo US Capitol on the Supreme Court side. Come to
Capitol on the NE corner.”

124. After exiting the Capitol, MEGGS, HARRELSON, WATKINS, James, MINUTA,
HACKETT, MOERSCHEL, Ulrich, and others gathered with RHODES just outside the Capitol.

E. Co-Conspirators Continue Plotting After the January 6 Attack on the Capitol

125. That evening, RHODES, James, VALLEJO, and others met at a restaurant in
Vienna, Virginia, to celebrate their attack on the Capitol and discuss next steps.

126. Throughout the evening of January 6, 2021, the co-conspirators discussed the need

to continue fighting to stop the lawful transfer of presidential power:

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127.

. At 7:30 p.m., RHODES messaged the Leadership Signal Chat, “Thousands of

ticked off patriots spontaneously marched on the Capitol ... You ain’t seen nothing

99

yet

. VALLEJO messaged the Leadership Signal Chat, “We'll be back to 6am to do it

again. We got food for 30 days.” He added, “We have only [begun] to fight!” and
“<After Action Reports’ will be dated 1/21/21.”
MEGGS added on the Leadership Signal Chat, “We aren’t quitting!! We are

4?

reloading!

. RHODES explained that “Patriots entering their own Capitol to send a message to

the traitors is NOTHING compared to what’s coming.”

On January 7, 2021, at 5:46 a.m., VALLEJO messaged the Leadership Signal Chat,

“We are going to probe their defense line right now 6 am they should let us in. We’ll see.” At

5:54 a.m., he stated, “Departing for Recon now. Stewart call me when you’re up.” About ten

minutes later, VALLEJO continued, “I’1l depart when cleared by my Commander Sir. Be well,

and peace be with you.”

128.

On January 11, 2021, WATKINS exchanged the following Facebook message with

a co-conspirator:

Co-Conspirator: I’m with you Cap. Keep the faith. We will have our answers
by the 20th.
WATKINS: We’ve been organizing a bugout plan if the usurper is

129.

installed...Something like 20+ Oathkeepers going to
Kentucky mountains on hundreds of acres apparently...Be
like the NVA and network tunnels.

In the weeks after January 6, 2021, RHODES purchased a large volume of firearms

and related equipment:

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a. On January 10, 2021, RHODES spent approximately $6,000 on sights, bipods, a
scope, mounts, backpacks, a gun grip, a magazine pouch, and other related items.

b. On January 11,2021, RHODES spent over $1,500 on scopes, magazines, and other
items.

c. On January 12, 2021, RHODES spent nearly $7,000 on hundreds of rounds of
ammunition, duffel bags, magazines, rifle scopes, a scope mount, a gun light, and
other items.

d. On January 13, 2021, RHODES spent approximately $1,000 on firearms parts.

e. From January 14 through 19, 2021, RHODES spent over $2,000 on firearms parts,
mounts, magazines, a scope leveler, targets, ammunition, a gun case, holsters, and
gun-maintenance equipment, among other items.

130. Inthe weeks after January 6, 2021, James met with RHODES in Alabama, collected

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what he referred to as “all available firearms,” and traveled to Texas where he stayed with
RHODES and others.

131. On January 10, 2021, James sent MEGGS a message asking if MEGGS and other
Florida Oath Keepers were coming to Texas, and MEGGS responded, “FI stays home until shots
fired !” That same day, Ulrich messaged James on Signal that he and RHODES should stay “below
the radar.”

132. On January 12, 2021, while in Texas on the drive back to Arizona from the
Washington, D.C., area, an Arizona QRF team member messaged RHODES, “Hi Stewart. I’m

sure you’re busy[] but wanted to let you know that [VALLEJO] and I are here.... We are excited

to learn next steps and would like to know what we should be doing right now.”

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133. On Inauguration Day, January 20, 2021, James messaged another individual, “After
this...if nothing happens...its war...Civil War 2.0.”

134. Around this time, RHODES messaged others to organize local militias to oppose
President Biden’s Administration.

(In violation of Title 18, United States Code, Section 2384)

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COUNT TWO
(18 U.S.C. § 1512(k))
(Conspiracy to Obstruct an Official Proceeding)

135. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and
incorporated as though set forth herein.
136. From in and around December 2020, through in and around January 2021, in the
District of Columbia and elsewhere, the defendants,
ELMER STEWART RHODES III,
KELLY MEGGS,
KENNETH HARRELSON,
JESSICA WATKINS,
ROBERTO MINUTA,
JOSEPH HACKETT,
DAVID MOERSCHEL,
THOMAS CALDWELL, and
EDWARD VALLEJO,
did knowingly combine, conspire, confederate, and agree with each other and other persons known
and unknown to the Grand Jury, to corruptly obstruct, influence, and impede an official
proceeding, that is, the Certification of the Electoral College vote, in violation of Title 18, United
States Code, Section 1512(c)(2).

(In violation of Title 18, United States Code, Section 1512(k))

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COUNT THREE
(18 U.S.C. §§ 1512(c)(2), 2)
(Obstruction of an Official Proceeding and Aiding and Abetting)

137. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and
incorporated as though set forth herein.
138. On or about January 6, 2021, in the District of Columbia and elsewhere, the
defendants,
ELMER STEWART RHODES III,
KELLY MEGGS,
KENNETH HARRELSON,
JESSICA WATKINS,
ROBERTO MINUTA,
JOSEPH HACKETT,
DAVID MOERSCHEL,
THOMAS CALDWELL, and
EDWARD VALLEJO,
attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the
Certification of the Electoral College vote, and did aid and abet other persons known and unknown
to the Grand Jury to do the same.

(In violation of Title 18, United States Code, Sections 1512(c)(2), 2)

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COUNT FOUR
(18 U.S.C. § 372)
(Conspiracy to Prevent an Officer from Discharging Any Duties)

139. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and
incorporated as though set forth herein.
140. From in and around December 2020, through in and around January 2021, in the
District of Columbia and elsewhere, the defendants,
ELMER STEWART RHODES III,
KELLY MEGGS,
KENNETH HARRELSON,
JESSICA WATKINS,
ROBERTO MINUTA,
JOSEPH HACKETT,
DAVID MOERSCHEL,
THOMAS CALDWELL, and
EDWARD VALLEJO,
did knowingly conspire and agree together and with each other to prevent by force, intimidation,
and threat, any person, that is, Members of the United States Congress, from discharging any duties
of any office, trust, and place of confidence under the United States, and to induce by force,
intimidation, and threat, any officer of the United States, that is, Members of the United States

Congress, to leave the place where their duties as officers were required to be performed.

(In violation of Title 18, United States Code, Section 372)

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COUNT FIVE
(18 U.S.C. §§ 1361, 2)
(Destruction of Government Property and Aiding and Abetting)
141. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and
incorporated as though set forth herein.
142. As set forth in paragraphs 9, 95, 97, and 98, on or about January 6, 2021, in the
District of Columbia, the defendants,
KELLY MEGGS,
KENNETH HARRELSON,
JESSICA WATKINS,
JOSEPH HACKETT, and
DAVID MOERSCHEL,
attempted to, and did, willfully injure and commit depredation against property of the United
States, that is, the United States Capitol building, thereby causing and attempting to cause damage
that exceeded $1,000, and did aid and abet other persons known and unknown to the Grand Jury

to do so.

(In violation of Title 18, United States Code, Sections 1361, 2)

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COUNT SIX
(18 U.S.C. §§ 231(a)(3), 2)
(Civil Disorder and Aiding and Abetting)

143. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and
incorporated as though set forth herein.

144. As set forth in paragraphs 103 through 105, on or about January 6, 2021, within the
District of Columbia, the defendant,

JESSICA WATKINS,

committed and attempted to commit and aided and abetted other persons known and unknown to
the Grand Jury to commit an act to obstruct, impede, and interfere with a law enforcement officer,
that is, law enforcement officers guarding the hallway between the Capitol Rotunda and Senate
Chamber, while those officers were lawfully engaged in the lawful performance of their official
duties, incident to and during the commission of a civil disorder which in any way and degree
obstructed, delayed, and adversely affected commerce and the movement of any article and

commodity in commerce and the conduct and performance of any federally protected function.

(In violation of Title 18, United States Code, Sections 231(a)(3), 2)

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COUNT SEVEN
(18 U.S.C. §§ 1512(c)(1), 2)
(Tampering with Documents or Proceedings and Aiding and Abetting)

145. Paragraphs 1 through 13 and 18 through 134 of this Indictment are re-alleged and
incorporated as though set forth herein.

146. On January 6, 2021, the Federal Bureau of Investigation opened an investigation
into the attack on the Capitol, and a Grand Jury of the United States District Court for the District
of Columbia subsequently opened an investigation.

147. Sometime on or after January 6, 2021, RHODES deleted from his cellular telephone
certain media, files, and communications that showed his involvement in the conduct alleged
herein.

148. On January 8, 2021, RHODES encouraged co-conspirators to delete media, files,
and communications that showed their involvement in the conduct alleged herein.

149. Between on or about January 6, 2021, and on or about May 3, 2021, in the District
of Columbia and elsewhere, the defendant,

ELMER STEWART RHODES ITI,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, and aided and abetted others to do so, with the intent to impair its integrity and
availability for use in an official proceeding, that is, the Grand Jury investigation into the attack
on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Sections 1512(c)(1), 2)

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COUNT EIGHT
(18 U.S.C. § 1512(c)(1))
(Tampering with Documents or Proceedings)

150. Paragraphs 1 through 13, 18 through 134, and 146 of this Indictment are re-alleged
and incorporated as though set forth herein.

151. Sometime on or after January 6, 2021, MEGGS deleted from his cellular telephone
certain media, files, and communications that showed his involvement in the conduct alleged
herein.

152. Between on or about January 6, 2021, and on or about February 17, 2021, in the
District of Columbia and elsewhere, the defendant,

KELLY MEGGS,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official

proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

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COUNT NINE
(18 U.S.C. § 1512(c)(1))
(Tampering with Documents or Proceedings)

153. Paragraphs 1 through 13, 18 through 134, and 146 of this Indictment are re-alleged
and incorporated as though set forth herein.

154. Sometime on or after January 6, 2021, HARRELSON deleted from his cellular
telephone certain media, files, and communications that showed his involvement in the conduct
alleged herein.

155. Between on or about January 6, 2021, and on or about March 10, 2021, in the
District of Columbia and elsewhere, the defendant,

KENNETH HARRELSON,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official

proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

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COUNT TEN
(18 U.S.C. § 1512(c)(1))
(Tampering with Documents or Proceedings)

156. Paragraphs 1 through 13, 18 through 134, and 14646 of this Indictment are re-
alleged and incorporated as though set forth herein.

157. Sometime on or after January 6, 2021, MINUTA discarded his cellular telephone
and, with it, certain media, files, and communications that showed his involvement in the conduct
alleged herein.

158. Between on or about January 6, 2021, and on or about March 6, 2021, in the District
of Columbia and elsewhere, the defendant,

ROBERTO MINUTA,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official

proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

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COUNT ELEVEN
(18 U.S.C. § 1512(¢)(1))
(Tampering with Documents or Proceedings)

159. Paragraphs 1 through 13, 18 through 134, and 146 of this Indictment are re-alleged
and incorporated as though set forth herein.

160. Sometime on or after January 6, 2021, HACKETT deleted from his cellular
telephone certain media, files, and communications that showed his involvement in the conduct
alleged herein.

161. Between on or about January 6, 2021, and on or about May 27, 2021, in the District
of Columbia and elsewhere, the defendant,

JOSEPH HACKETT,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official

proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

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COUNT TWELVE
(18 U.S.C. § 1512(¢)(1))
(Tampering with Documents or Proceedings)

162. Paragraphs 1 through 13, 18 through 134, and 14646 of this Indictment are re-
alleged and incorporated as though set forth herein.

163. Sometime on or after January 6, 2021, MOERSCHEL deleted from his cellular
telephone certain media, files, and communications that showed his involvement in the conduct
alleged herein.

164. Between on or about January 6, 2021, and on or about June 14, 2021, in the District
of Columbia and elsewhere, the defendant,

DAVID MOERSCHEL,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official

proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

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COUNT THIRTEEN
(18 U.S.C. § 1512(c)(1))
(Tampering with Documents or Proceedings)

165. Paragraphs | through 13, 18 through 134, and 146 of this Indictment are re-alleged
and incorporated as though set forth herein.

166. On January 8, 2021, in response to a request for a video from a person known to
the Grand Jury, CALDWELL sent the video, and subsequently unsent the message containing the
video.

167. Between January 6, 2021, and January 19, 2021, CALDWELL deleted photographs
from his Facebook account that documented his participation in the attack on the Capitol on
January 6, 2021.

168. Between on or about January 6, 2021, and on or about January 19, 2021, in the
District of Columbia and elsewhere, the defendant,

THOMAS CALDWELL,
did corruptly alter, destroy, mutilate, and conceal a record, document, and other object, and
attempted to do so, with the intent to impair its integrity and availability for use in an official
proceeding, that is, the Grand Jury investigation into the attack on the Capitol on January 6, 2021.

(In violation of Title 18, United States Code, Section 1512(c)(1))

A TRUE BILL

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MATTHEW M. GRAVES
ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

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